        Case 3:19-cv-00516-SDD-SDJ          Document 69       12/08/21 Page 1 of 12




                           UNITED STATES DISTRICT COURT

                           MIDDLE DISTRICT OF LOUISIANA

CYNTHIA SPOON, ET AL                                             CIVIL ACTION

VERSUS
                                                                 NO. 19-516-SDD-SDJ
BAYOU BRIDGE
PIPELINE, LLC, ET AL


                                           ORDER

       Before the Court is a Consent Motion for Entry of Protective Order (R. Doc. 67) filed by

Bayou Bridge Pipeline, LLC. Having reviewed the proposed Protective Order (R. Doc. 67-1), as

well as the applicable law, the Court finds good cause to enter the Protective Order under Rule

26(c) of the Federal Rules of Civil Procedure. Accordingly,

       IT IS ORDERED that the Consent Motion for Entry of Protective Order (R. Doc. 67) is

GRANTED, and the attached Protective Order will be entered into the record by the Clerk of

Court. The Court notes for counsel the additions made in bold to Paragraph 6 regarding the

filing of documents under seal.

       Signed in Baton Rouge, Louisiana, on December 8, 2021.



                                                  S
                                            SCOTT D. JOHNSON
                                            UNITED STATES MAGISTRATE JUDGE
        Case 3:19-cv-00516-SDD-SDJ            Document 69        12/08/21 Page 2 of 12




                           UNITED STATES DISTRICT COURT

                            MIDDLE DISTRICT OF LOUISIANA

CYNTHIA SPOON, ET AL                                                 CIVIL ACTION

VERSUS
                                                                     NO. 19-516-SDD-SDJ
BAYOU BRIDGE
PIPELINE, LLC, ET AL

                                    PROTECTIVE ORDER

       IT IS HEREBY ORDERED, ADJUDGED AND DECREED that the following Protective

Order is issued to govern certain disclosures in this case, “Cynthia Spoon, Sophia Cook-Phillips,

and Eric Moll v. Bayou Bridge Pipeline LLC, et al.,” bearing docket number 3:19-cv-00516-SDD-

SDJ in the Middle District Court of Louisiana:

   1. Scope. All materials produced or adduced in the course of discovery, including initial

       disclosures, responses to discovery requests, deposition testimony and exhibits, and

       information derived directly therefrom (hereinafter collectively “documents”), shall be

       subject to this Order concerning Confidential Information as defined below. This Order is

       subject to the Local Rules of the Middle District of Louisiana and the Federal Rules of

       Civil Procedure on matters of procedure and calculation of time periods.

   2. Confidential Information. As used in this Order, “Confidential Information” means

       information designated as “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER”

       by the producing party that falls within one or more of the following categories: (a)

       information prohibited from disclosure by statute; (b) information that reveals trade secrets;

       (c) research, technical, commercial or financial information that the party has maintained

       as confidential; (d) medical information concerning any individual; (e) personal identity

       information; (f) income tax returns (including attached schedules and forms), W-2 forms

                                                 2
         Case 3:19-cv-00516-SDD-SDJ                   Document 69           12/08/21 Page 3 of 12




        and 1099 forms; and/or (g) personnel or employment records of a person who is not a party

        to the case. Information or documents that are available to the public may not be designated

        as Confidential Information.

    3. Designation.

             a. Procedure. A party may designate a document as Confidential Information for

                 protection under this Order by placing or affixing the words “CONFIDENTIAL -

                 SUBJECT TO PROTECTIVE ORDER” on the document and on all copies in a

                 manner that will not interfere with the legibility of the document. As used in this

                 Order, the term “copies” includes electronic images, duplicates, extracts,

                 summaries or descriptions that contain the Confidential Information. The marking

                 “CONFIDENTIAL - SUBJECT TO PROTECTIVE ORDER” shall be applied

                 prior to or at the time that the documents are produced or disclosed. No designation

                 shall be made unless the producing party believes in good faith that the document

                 constitutes or contains Confidential Information, and that the designated material

                 is entitled to protection under Rule 26(c) of the Federal Rules of Civil Procedure.

                 So-called “umbrella” designations of Confidential Information shall not be

                 permitted.1        Applying the marking “CONFIDENTIAL - SUBJECT TO

                 PROTECTIVE ORDER” to a document does not mean that the document has any

                 status or protection by statute or otherwise except to the extent and for the purposes

                 of this Order. Any copies made of any documents marked “CONFIDENTIAL -

                 SUBJECT TO PROTECTIVE ORDER” shall also be so marked, except that

                 indices, electronic databases or lists of documents that do not contain substantial


1
  An umbrella confidentiality designation is the designation of all documents in a production as confidential without
the designating party showing that it conducted a particularized review of its production.

                                                         3
Case 3:19-cv-00516-SDD-SDJ           Document 69       12/08/21 Page 4 of 12




     portions or images of the text of marked documents and do not otherwise disclose

     the substance of the Confidential Information are not required to be marked.

  b. Inadvertent Failure to Designate. An inadvertent failure to designate a document

     as Confidential Information does not, standing alone, waive the right to

     subsequently so designate the document; provided, however, that a failure to serve

     a timely Notice of Designation of deposition testimony as required by this Order at

     Paragraph 4, even if inadvertent, waives any protection for deposition testimony.

     If a party designates a document as Confidential Information after it was initially

     produced, the receiving party, on notification of the designation, must make a

     reasonable effort to assure that the document is treated in accordance with the

     provisions of this Order. No party shall be found to have violated this Order for

     failing to maintain the confidentiality of material during a time when that material

     has not been designated Confidential Information.

  c. Inspection of Materials Prior to Production. In the event that documents, materials

     or other information are made subject to inspection prior to their production, no

     marking of those materials need be made by the producing party at the time of that

     inspection. For purposes of such an inspection, all materials made available for the

     inspection shall be considered Confidential Information and subject to this Order

     at the time of the inspection. Thereafter, if any materials subject to that inspection

     are produced and the producing party wishes those materials to be considered

     Confidential Information under this Order, the producing party shall so designate

     them in accordance with the procedures set forth in this Order.




                                       4
         Case 3:19-cv-00516-SDD-SDJ                   Document 69          12/08/21 Page 5 of 12




             d. Certification by Counsel or Party. The designation of materials as Confidential

                 Information is a certification by an attorney or a party appearing pro se that the

                 document contains Confidential Information as defined in this order.2

    4. Depositions. Deposition testimony is protected by this Order only if the designating party

        in good faith believes the testimony contains Confidential Information and if two distinct

        actions are taken with respect to that testimony, and the designating party in good faith

        believes the testimony contains Confidential Information and is entitled to protection under

        Rule 26(c) of the Federal Rules of Civil Procedure. First, deposition testimony must be

        designated as “CONFIDENTIAL – SUBJECT TO PROTECTIVE ORDER” on the record

        at the time the testimony is taken. Such designation shall be specific as to the portions that

        contain Confidential Information. Deposition testimony so designated shall be treated as

        Confidential Information protected by this Order until fourteen (14) days after delivery of

        the transcript by the court reporter to any party or the witness. Second, within fourteen

        (14) days of the delivery of the transcript, a designating party may serve a Notice of

        Designation to all parties of record identifying the specific portions of the transcript that

        are designated Confidential Information, and thereafter those portions identified in the

        Notice of Designation shall be protected under the terms of this Order. The failure to serve

        a timely Notice of Designation waives any designation of deposition testimony as

        Confidential Information that was made on the record of the deposition, unless otherwise

        ordered by the Court.           Likewise, testimony cannot be subsequently designated as

        Confidential Information unless it was specifically so designated on the record during or

        immediately upon completion of the subject deposition.


2
  By designating documents as confidential pursuant to this Order, counsel submits to the jurisdiction and authority
of this Court concerning such designations and the enforcement of this Order.

                                                         5
    Case 3:19-cv-00516-SDD-SDJ            Document 69        12/08/21 Page 6 of 12




5. Protection of Confidential Material.

      a. General Protections. Confidential Information shall not be used or disclosed by the

          parties, counsel for the parties or any other persons identified in subparagraph (b)

          for any purpose whatsoever other than in this litigation, which includes any appeal

          thereof.

      b. Limited Third-Party Disclosures. The parties and counsel for the parties shall not

          disclose or permit the disclosure of any Confidential Information to any third

          person or entity except as set forth in subparagraphs (1)-(9) below. Subject to these

          requirements, the following categories of persons may be allowed to review

          Confidential Information: (1) Counsel for the parties and employees of counsel

          who have responsibility for the action; (2) individual parties and officers, directors,

          employees, agents or representatives of a party but only to the extent counsel

          determines in good faith that the employee’s assistance is reasonably necessary to

          the conduct of the litigation in which the information is disclosed; (3) the Court and

          its personnel; (4) court reporters and recorders engaged for depositions and/or

          hearings; (5) those persons specifically engaged for the limited purpose of making

          copies of documents or organizing or processing documents, including outside

          vendors hired to process electronically stored documents; (6) consultants,

          investigators, or experts employed by the parties or counsel for the parties to assist

          in the preparation and trial of this action but only after such persons have completed

          the certification contained in Attachment A (“Acknowledgment of Understanding

          and Agreement to Be Bound by Protective Order”); (7) during their depositions, or

          in preparation for their trial or deposition testimony, witnesses in this action to



                                            6
         Case 3:19-cv-00516-SDD-SDJ                  Document 69         12/08/21 Page 7 of 12




                 whom disclosure is reasonably necessary. Witnesses shall not retain a copy of

                 documents containing Confidential Information, except witnesses may receive a

                 copy of all exhibits marked at their depositions in connection with review of the

                 transcripts. Pages of transcribed deposition testimony or exhibits to depositions

                 that are designated as Confidential Information pursuant to the process set out in

                 this Order must be separately bound by the court reporter and may not be disclosed

                 to anyone except as permitted under this Order. (8) The author or recipient of the

                 document in the regular course of business (not including a person who received

                 the document in the course of litigation); and (9) other persons only by written

                 consent of the producing party or upon order of the Court and on such conditions

                 as may be agreed upon or ordered.

             c. Control of Documents. Counsel for the parties shall make reasonable efforts to

                 prevent unauthorized or inadvertent disclosure of Confidential Information.

                 Counsel shall maintain the originals of the forms signed by persons acknowledging

                 their obligations under this Order for a period of three (3) years after the termination

                 of the case.

    6. Filing of Confidential Information. This Order does not, standing alone, authorize the

        filing of any document under seal. Sealed filings must comply with the Court’s

        Administrative Procedures.3 And any document filed under seal will be handled by

        the Court in accordance with its procedures at the conclusion of the litigation.4


3
 The Administrative Procedures for Filing Electronic Documents in the United States District Court for the
Middle District of Louisiana can be found on the Court’s website.
(Available at: https://www.lamd.uscourts.gov/administrative-procedures).
4
 “[A]ll pleadings and other papers filed under seal in civil and criminal actions shall be maintained under seal
for thirty days following final disposition of the action. After that time, all sealed pleadings and other papers
shall be placed in the case record unless a District Judge or Magistrate Judge, upon motion and for good cause

                                                       7
         Case 3:19-cv-00516-SDD-SDJ                 Document 69         12/08/21 Page 8 of 12




    7. No Greater Protection of Specific Documents. Except on grounds of privilege not

        addressed by this Order, no party may withhold information from discovery on the ground

        that it requires protection greater than that afforded by this Order unless the party moves

        for an order providing such special protection.

    8. Challenges by a Party to Designation as Confidential Information. The designation of

        any material or document as Confidential Information is subject to challenge by any party.

        The following procedure shall apply to any such challenge.

            a. Meet and Confer. A party challenging the designation of Confidential Information

                 must do so in good faith and must begin the process by conferring directly with

                 counsel for the designating party, or directly with a party who is appearing pro se.

                 In conferring, the challenging party must identify the specific document or

                 documents being challenged, explain the basis for its belief that the confidentiality

                 designation was not proper and must give the designating party an opportunity to

                 review the designated material, to reconsider the designation, and, if no change in

                 designation is offered, to explain the basis for the designation. The challenge and

                 explanation may be provided in writing, orally, or in person. The designating party

                 must respond to the challenge within five (5) business days.

            b. Judicial Intervention. A party who elects to challenge a confidentiality designation

                 may file and serve a motion that identifies the challenged material and sets forth in

                 detail the basis for the challenge. Each such motion must be accompanied by a



shown, orders that the pleading or other paper be maintained under seal. . . . [T]he deadline for filing any
motions regarding the unsealing of any document shall be within thirty days of the final disposition of any
action and shall contain a concise statement of reasons for maintaining the pleading or other paper under seal.”
M.D. La. General Order No. 2019-4.

                                                       8
    Case 3:19-cv-00516-SDD-SDJ            Document 69        12/08/21 Page 9 of 12




          competent certification that affirms that the movant has complied with the meet-

          and-confer requirements of this Order. The burden of persuasion in any such

          challenge proceeding shall be on the designating party. Until the Court rules on the

          challenge, all parties shall continue to treat the materials as Confidential

          Information under the terms of this Order.

9. Action by the Court. Applications to the Court for an order relating to materials or

   documents designated Confidential Information shall be by motion. Nothing in this Order

   or any action or agreement of a party under this Order shall limit the Court’s authority to

   make orders concerning the disclosure of documents produced in discovery or at trial.

10. Use of Confidential Documents or Information at Trial. Nothing in this Order shall be

   construed to affect the use of any document, material, or information at any trial or hearing.

   A party who intends to present or who anticipates that another party may present

   Confidential Information at a hearing or trial shall bring that issue to the Court’s and

   parties’ attention by motion or in a pretrial memorandum without disclosing the substance

   of the Confidential Information. The Court may thereafter make such orders as are

   necessary to govern the use of such documents or information at trial.

11. Confidential Information Subpoenaed or Ordered Produced in Other Litigation.

       a. If a receiving party is served with a subpoena or an order issued in other litigation

          or regulatory or criminal investigation that would compel disclosure of any material

          or document designated in this action as Confidential Information, the receiving

          party must so notify the designating party, in writing, immediately and in no event

          more than three (3) court days after receiving the subpoena or order. Such

          notification must include a copy of the subpoena or court order.



                                             9
   Case 3:19-cv-00516-SDD-SDJ             Document 69       12/08/21 Page 10 of 12




       b. The receiving party also must immediately inform in writing, no later than five days

          after receiving the subpoena or order, the person or entity that caused the subpoena

          or order to issue in the other litigation that some or all of the material covered by

          the subpoena or order is the subject of this Order. In addition, the receiving party

          must deliver a copy of this Order promptly to the party in the other action that

          caused the subpoena to issue.

       c. The purpose of imposing these duties is to alert the issuing person or entity to the

          existence of this Order and to afford the designating party in this case an

          opportunity to make attempts to protect its Confidential Information in the court

          from which the subpoena or order issued. The designating party shall bear the

          burden and the expense of seeking protection in that court of its Confidential

          Information, and nothing in these provisions should be construed as authorizing or

          encouraging a receiving party in this action to disobey a lawful directive from

          another court. The obligations set forth in this paragraph remain in effect while the

          party has in its possession, custody or control Confidential Information by the other

          party to this case.

12. Obligations upon Conclusion of Litigation.

       a. Order Continues in Force. Unless otherwise agreed upon or ordered, this Order

          shall remain in force after dismissal or entry of final judgment not subject to further

          appeal.

       b. Obligations upon Conclusion of Litigation. Within sixty (60) days after dismissal

          or entry of final judgment not subject to further appeal, a producing party may make

          request that a receiving party undertake reasonable efforts to permanently safeguard



                                            10
Case 3:19-cv-00516-SDD-SDJ          Document 69       12/08/21 Page 11 of 12




     Confidential Information from disclosure. Such reasonable efforts include the

     return or destruction of open and obvious collections of Confidential Information,

     and the lockdown of e-mails or server locations that potentially contain

     Confidential Information. The receiving party may choose to return or destroy open

     and obvious collections of materials considered Confidential Information under this

     Order, in lieu of lockdown or permanent safeguard from disclosure. The receiving

     party that elects to destroy the documents shall certify in writing to the producing

     party that it has done so. Reasonable efforts shall not include the restoration of

     archived data, the page-by-page review of paper records, or a document-by-

     document review of electronically stored information. Where the demand is timely

     made, it shall not apply to documents that have been listed as trial exhibits, used in

     depositions, used or referenced in expert reports, or filed into the court record

     without restriction as to disclosure. Notwithstanding the foregoing, the receiving

     party of Confidential Information shall not be required to locate, isolate and return

     e-mails (including attachments to e-mails) that may include Confidential

     Information or Confidential Information contained in deposition transcripts, or

     draft or final expert reports. No party shall have the obligations described in this

     subsection if a request to permanently safeguard Confidential Information is not

     timely made.

  c. Retention of Work Product and Filed Documents. Notwithstanding the above

     requirements associated with the conclusion of litigation, counsel may retain: (1)

     attorney work product, including an index that refers or relates to designated

     Confidential Information, and (2) documents filed with the Court including those



                                      11
   Case 3:19-cv-00516-SDD-SDJ            Document 69        12/08/21 Page 12 of 12




          filed under seal. Any retained Confidential Information shall continue to be

          protected under this Order. An attorney may use his or her own work product in

          subsequent litigation, provided that its use does not disclose or use Confidential

          Information or otherwise violate this Order.

       d. Deletion of Documents Filed under Seal from Electronic Case Filing (ECF)

          System. Filings under seal shall be deleted from the ECF system only upon order

          of the Court.

13. Order Subject to Modification. This Order shall be subject to modification by the Court

   on its own initiative or on motion of a party or any other person with standing concerning

   the subject matter.

14. No Prior Judicial Determination. This Order is entered based on the representations and

   agreements of the parties and for the purpose of facilitating discovery. Nothing herein shall

   be construed or presented as a judicial determination that any document or material

   designated Confidential Information by counsel or the parties is entitled to protection under

   Rule 26(c) of the Federal Rules of Civil Procedure or otherwise until such time as the Court

   may rule on a specific document or issue.

15. Persons Bound. This Order shall take effect when entered and shall be binding upon all

   counsel of record and their law firms, the parties, and persons made subject to this Order

   by its terms.

Signed in Baton Rouge, Louisiana, on December 8, 2021.

                                                 S
                                         SCOTT D. JOHNSON
                                         UNITED STATES MAGISTRATE JUDGE




                                            12
